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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.         CV 24-2859-JFW(MARx)                                          Date: June 17, 2024

Title:           Hovhannes Pashyan -v- Porsche Cars North America, Inc., et al.


PRESENT:
                 HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

                 Shannon Reilly                              None Present
                 Courtroom Deputy                            Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                 ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                               None

PROCEEDINGS (IN CHAMBERS):                 ORDER OF DISMISSAL

        In the Notice of Settlement filed on June 14, 2024, Docket No. 21, the parties represent that
they have settled this action. As a result, the Court dismisses this action without prejudice subject
to either party reopening the action on or before August 1, 2024. The Court will retain jurisdiction
for the sole purpose of enforcing the settlement until August 1, 2024. Thereafter, absent further
order of the Court, the dismissal of this action will be with prejudice. All dates in this action,
including the trial date are vacated.

         IT IS SO ORDERED.




                                                                                  Initials of Deputy Clerk sr

(Rev. 1/14/15)
